           Case: 1:18-cv-05369 Document #: 61-1 Filed: 05/24/19 Page 1 of 4 PageID #:1537


Ives, Erik J.

From:                           Ives, Erik J.
Sent:                           Friday, May 24, 2019 11:58 AM
To:                             jpfieweger@michaelbest.com; hop.guy@bakerbotts.com;
                                jon.swenson@bakerbotts.com
Cc:                             Keener, Jason J.; Koropp, David E.
Subject:                        Re: Ubiquiti-Cambium Litig. -- Request for Extension of Filing Deadline [IWOV-
                                iManage.FID278983]
Attachments:                    image001.png


Jon,

While we are disappointed by this response, we acknowledge your clients' position and will identify this
opposition in the forthcoming motion. Please feel free to contact me with any questions.

Thank you,

Erik


From: jon.swenson@bakerbotts.com
Sent: Friday, May 24, 11:49 AM
Subject: RE: Ubiquiti-Cambium Litig. -- Request for Extension of Filing Deadline [IWOV-iManage.FID278983]
To: Ives, Erik J., jpfieweger@michaelbest.com, hop.guy@bakerbotts.com
Cc: Keener, Jason J., Koropp, David E.


Erik,

Cambium opposes the request for the extension and the request to take the status conference off calendar.

Please let me know if you have any questions.

Thanks,

Jon

From: Ives, Erik J. <eives@foxswibel.com>
Sent: Thursday, May 23, 2019 4:19 PM
To: jpfieweger@michaelbest.com; Guy, Hop <hop.guy@BakerBotts.com>; Swenson, Jon
<jon.swenson@bakerbotts.com>
Cc: Keener, Jason J. <jkeener@foxswibel.com>; Koropp, David E. <dkoropp@foxswibel.com>
Subject: Re: Ubiquiti-Cambium Litig. -- Request for Extension of Filing Deadline [IWOV-iManage.FID278983]

[EXTERNAL EMAIL]
Jon,
To clarify, the extension request would take us past the date of the status conference, hence the added
reference to potential rescheduling of this date.
We look forward to hearing from you tomorrow.
Thanks,
Erik

                                                         1
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From: jon.swenson@bakerbotts.com
Sent: Thursday, May 23, 6:09 PM
Subject: RE: Ubiquiti-Cambium Litig. -- Request for Extension of Filing Deadline [IWOV-iManage.FID278983]
To: Ives, Erik J., jpfieweger@michaelbest.com, hop.guy@bakerbotts.com
Cc: Keener, Jason J., Koropp, David E.

Erik,

We need to confirm with our client our position on this issue. We will get back to you tomorrow.

Regarding the status hearing set for June 11, the Court set the deadline for Ubiquiti to file an amended
complaint prior to the status conference. Holding the status conference after the filing of any amended
complaint provides an opportunity to discuss scheduling issues related to any motion practice that may result
in response to an amended complaint.

Thanks,

Jon

From: Ives, Erik J. <eives@foxswibel.com>
Sent: Thursday, May 23, 2019 1:51 PM
To: jpfieweger@michaelbest.com; Guy, Hop <hop.guy@BakerBotts.com>; Swenson, Jon
<jon.swenson@bakerbotts.com>
Cc: Keener, Jason J. <jkeener@foxswibel.com>; Koropp, David E. <dkoropp@foxswibel.com>
Subject: RE: Ubiquiti-Cambium Litig. -- Request for Extension of Filing Deadline [IWOV-iManage.FID278983]

[EXTERNAL EMAIL]
Counsel – we realized that the Court’s order did not address the status hearing scheduled for June 11th. As a
result, we have added a paragraph at the end deferring to the court as to whether that hearing should be
rescheduled. An updated version is attached.

Thanks,
Erik

Erik J. Ives
eives@foxswibel.com | 312-224-1239 (direct)

Fox Swibel Levin & Carroll llp
200 W. Madison Street, Suite 3000 | Chicago, Illinois 60606
www.foxswibel.com | 312-224-1200 (main) | 312-224-1201 (fax)

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From: Ives, Erik J.
Sent: Thursday, May 23, 2019 3:33 PM
To: 'jpfieweger@michaelbest.com'; 'hop.guy@bakerbotts.com'; 'jon.swenson@bakerbotts.com'
Cc: Keener, Jason J.; Koropp, David E.
Subject: RE: Ubiquiti-Cambium Litig. -- Request for Extension of Filing Deadline [IWOV-iManage.FID278983]

Hop, Jon and Jim – we look forward to hearing from you regarding our extension request below. In the
meantime, we have prepared the attached motion, subject to confirmation of Defendants’ agreement and/or

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request for a reciprocal extension (in which case this motion can be modified, feel free to do so directly if you
prefer).

Please do let us know your position as soon as possible, as we intend to file today in order to secure a
presentment hearing date of next Wednesday.

Feel free to call with any questions.

Thanks,

Erik

Erik J. Ives
eives@foxswibel.com | 312-224-1239 (direct)

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www.foxswibel.com | 312-224-1200 (main) | 312-224-1201 (fax)

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From: Ives, Erik J.
Sent: Thursday, May 23, 2019 11:56 AM
To: 'jpfieweger@michaelbest.com'; 'hop.guy@bakerbotts.com'; 'jon.swenson@bakerbotts.com'
Cc: Keener, Jason J.; Koropp, David E.
Subject: Ubiquiti-Cambium Litig. -- Request for Extension of Filing Deadline [IWOV-iManage.FID278983]

Hop, Jon and Jim:

As you undoubtedly saw yesterday, Judge Feinerman set a schedule for filing of Ubiquiti’s amended complaint
by June 5th, with Cambium’s response to the amended complaint due on June 19th.

In light of deadlines on pending matters for other clients, as well as the intervening holiday weekend, Ubiquiti
intends to file a motion requesting a two (2) week extension of our filing deadline. Please let us know if
Cambium agrees to this request, as well as whether Cambium wishes to seek a reciprocal extension for its
own response deadline (which would be fine with us, and would be incorporated into a joint motion).

Please let us know asap, as we intend to file a motion with the court today, to be noticed for presentment
hearing on 5/29 pursuant to Judge Feinerman’s notice procedures/local rules. Feel free to call me at the
number below if you would like to discuss.

Thanks,
Erik

Erik J. Ives
eives@foxswibel.com | 312-224-1239 (direct)


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www.foxswibel.com | 312-224-1200 (main) | 312-224-1201 (fax)


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